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CYNDEE L. PETERSON
                                                    CIe!l<. U,S Dislrict Court
Assistant U.S. Attorney                                District Of Montana
                                                           Gre~t Fz:~ls
U.S. Attorney's Office
P.O. Box 8329
Missoula, MT 59807
lOS E. Pine
Missoula, MT 59802
Phone: (406) 542~8851
FAX: (406) 542-1476
Email: Cyndee.Peterson@usdoj.gov

ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MONT Ac~A
                        BUTTE DIVISION

 UNITED STATES OF AMERICA,            CR 18-@3-BU-~C

            Plaintiff,                INDICTMENT

      vs.                             SEXUAL EXPLOITATION
                                      OF A CHILD (Count I)
                                      Title 18 U.s.C. § 2251(a)
 JAMIE BROCK GRUBB,                   (Penalty: Mandatory minimum 25 to
                                      50 years imprisonment, $250,000 fine, five
            Defendant.                years to lifetime supervised release, and
                                      $5,000 spedal assessment)

                                      DISTRIBUTION OF CHIIJD
                                      PORNOGRAPHY (Counts II-VIII)
                                      Title 18 U.S.C. § 2252(a)(2)
                                      (Penalty: Mandatory minimum 15 to
                                      40 years imprisonment, $250,000 fine, five
                                      years to lifetime supervised release, and
                                      $5,000 special assessment)
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                                       TRANSPORTATION OF CHILD
                                       PORNOGRAPHY (Count IX)
                                       Title 18 U.S.c. § 2252(a)(I)
                                       (Penalty: Mandatory minimum 15 to
                                       40 years imprisonment, $250,000 fine, five
                                       years to lifetime supervised release, and
                                       $5,000 special assessment)

                                       CYBERSTAl.KING (Count X)
                                       Title 18 U.S.c. § 2261A(2)(A) and 2261(b)
                                       (Penalty: five years imprisonment,
                                       $250,000 fine, and three years supervised
                                       release)

                                       INTERCEPTION OF WIRE, ORAL &
                                       El.ECTRONIC COMMUNICATION
                                       (Count XI)
                                       Title 18 U.S.C. § 2511(I)(a)
                                       (Penalty: five years imprisonment,
                                       $250,000 fine, and three years supenised
                                       release)

                                       USE OF DEVICE TO INTERCEPT ORAL
                                       COMMUNICATION
                                       (Counts XII & XIII)
                                       Title 18 U.S.c. § 25U(I)(b)
                                       (Penalty: five years imprisonment,
                                       $250,000 fine, and three years supervised
                                       release)

                                       POSSESSION OF WIRE, OR.<\!. &
                                       ELECTRONIC COMMUNICATION
                                       INTERCEPTING DEVICE (Count XIV)
                                       Title 18 U.S.C. § 2512(I)(b)
                                       (Penalty: five years imprisonment,
                                       $250,000 fine, and three years supervised
                                       release)

                                       FORFEITURE ALLEGATION



THE GRAND JURy CHARGES:




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                                      COUNT I

      That on or about October 2014 through April 2016, in Gallatin County, in the

State and District of .Montana and elsewhere, the defendant, JAMIE BROCK

GRUBB, did employ, use, persuade, induce, entice, and coerce any minor, "Jane

Doe," to engage in sexually explicit conduct for the purpose of producing any

visual depiction of such conduct, knowing and having reason to know that such

visual depiction would be transported in and affecting interstate and foreign

commerce, and using materials that have been mailed, shipped, and transported in

and affecting interstate and foreign commerce by any means, including by

computer, in violation of 18 U.S.C. § 225 I (a).

                                      COUNT II

       That on or about July 7, 2017, in Gallatin County, in the State and District of

Montana, and elsewhere, the defendant, JAMIE BROCK GRUBB, knowingly

distributed a visual depiction on Snapchat, namely a file ending in

B885CB9153BD-VA.jpg, using any means or facility of interstate and foreign

commerce and the production of such visual depiction involved the use of a minor

engaging in sexually explicit conduct and the visual depiction is of such conduct,

in violation of 18 U.S.C. §§ 2252(a)(2) and (b)(l).




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                                    COUNT III

      That on or about July 7, 2017, in Gallatin County, in the State and District of

Montana, and elsewhere, the defendant, JAMIE BROCK GRUBB, knowingly

distributed a visual depiction on Snapchat, namely a file ending in

85F886564273~V4.jpg,     using any means or facility of interstate and foreign

commerce and the production of such visual depiction involved the usc of a minor

engaging in sexually explicit conduct and the visual depiction is of such conduct,

in violation of 18 U.S.c. §§ 2252(a)(2) and (b)(l).

                                    COUNT IV

      That on or about February 6,2016, in Gallatin County, in the State and

District of Montana, and elsewhere, the defendant, JAMIE BROCK GRUBB,

knowingly distributed a visual depiction on Snapchat, namely a file ending in

IFE98A2AD345~V4.jpg,       using any means or facility of interstate and foreign

commerce and the production of such visual depiction involved the use of a minor

engaging in sexually explicit conduct and the visual depiction is of such conduct,

in violation of 18 U.S.c. §§ 2252(a)(2) and (b)(l).




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                                    COUNT V

      That on or about August 3, 2015, in Gallatin County, in the State and

District of Montana, and elsewhere, the defendant, JAMIE BROCK GRUBB,

knowingly distributed a visual depiction on Snapchat, namely a file ending in

E872B IB239FE-V 4.jpg, using any means or facility of interstate and foreign

commerce and the production of such visual depiction involved the use of a minor

engaging in sexually explicit conduct and the visual depiction is of such conduct,

in violation of 18 U.S.c. §§ 2252(a)(2) and (b)(1).

                                    COUNT VI

      That on or about August 2, 2015, in Gallatin County, in the State and

District of Montana, and elsewhere, the defendant, JAMIE BROCK GRUBB,

knowingly distributed a visual depiction on Snapchat, namely a file ending in

D3672B2D76C7~V4.jpg,      using any means or facility of interstate and foreign

commerce and the production of such visual depiction involved the use of a minor

engaging in sexually explicit conduct and the visual depiction is of such conduct,

in violation of 18 U.S.C. §§ 2252{a)(2) and (b)(J).

                                   COUNT VII

      That on or about May 7,2017, in Gallatin County, in the State and District

of Montana, and elsewhere, the defendant, JAMIE BROCK GRUBB, knowingly

distributed a visual depiction on Anon-IB, namely file 149415 I 746160.jpg, using

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any means or facility of interstate and foreign commerce, and the production of

such visual depiction involved the use of a minor engaging in sexually explicit

conduct and the visual depiction is of such conduct, in violation of 18 U.S.c.

§§ 2252(a)(2) and (b)(1).

                                    COUNT VIII

      That on or about November 21, 2016, in Gallatin County, in the State and

District of Montana, and elsewhere, the defendant, JAMIE BROCK GRUBB,

knowingly distributed a visual depiction on Anon-IB, namely file 1479686690568­

I.jpg, using any means or facility of interstate and foreign commerce and the

production of such visual depiction involved the use of a minor engaging in

sexually explicit conduct and the visual depiction is of such conduct, in violation

of 18 U.S.c. §§ 2252(a)(2) and (b)(l).

                                    COUNT IX

      That between on or about May 26, 2015, and July 2,2016, in Gallatin

County, in the State and District of Montana, and elsewhere, the defendant, JAMIE

BROCK GRUBB, knowingly transported any visual depiction using any means or

facility of interstate and foreign commerce, and in and affecting interstate and

foreign commerce, by any means including by computer, namely images and a

video in his gmail account, and the production of such visual depiction involved




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the use of a minor engaging in sexually explicit conduct and the visual depiction is

of such conduct, in violation of 18 U.S.C. §§ 2252(a)(1) and (b).

                                     COUNT X

      That on or about the January 2017 through July 2017, in Gallatin County, in

the District of Montana, and elsewhere, the defendant, JAMIE BROCK GRUBB,

with the intent to injure, harass and intimidate, and place under surveillance with

the intent to injure, harass and intimidate another person, namely Jane Doe, used

any electronic communication service and any other facility of interstate or foreign

commerce to engage in a course of conduct that caused, attempted to cause, and

would reasonably be expected to cause, substantial emotional distress to Jane Doe,

in violation of 18 U.S.c. §§ 2261A(2)(A) and 2261(b).

                                    COUNT XI

      That on or about January 10, 2017, through July 19, 2017, in Gallatin

County, in the District of Montana, and elsewhere, the defendant, JAMIE BROCK

GRUBB, intentionally intercepted and endeavored to intercept any wire, oral and

electronic communication, in violation ofl8 U.S.c. §§ 2511(I)(a) and (4)(a).

                                    COUNT XII

      That on or about January 10, 2017, through July 19, 2017, in Gallatin

County, in the District of Montana, and elsewhere, the defendant, JAMIE BROCK

GRUBB, intentionally used and endeavored to use any electronic, mechanical, and

other device to intercept any oral communication, namely SpyGPSTracker

software, when JAMIE BROCK GRUBB knew, and had reason to know, that such


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device and any component thereofhad been sent and transported in interstate and

foreign commerce, in violation of 18 U.S.c. §§ 25U(l)(b)(iii) and (4)(a).

                                    COUNT XIII

      That on or about January 10,2017, in Gallatin County, in the District of

Montana, and elsewhere, the defendant, JAMIE BROCK GRUBB, intentionally

used and endeavored to use any electronic, mechanical, and other device, namely

Cell Tracker software, to intercept any oral communication when JAMIE BROCK

GRUBB knew, and had reason to know, that such device and any component

thereof had been sent and transported in interstate and foreign commerce, in

violation of 18 U.S.c. §§ 2511(I)(b)(iii) and (4)(a).

                                    COUNT XIV

      That on or about January 10,2017, through July 19,2017, in Gallatin

County, in the District of Montana, and elsewhere, the defendant, JAMIE BROCK

GRUBB, possessed a device, as defined in 18 U.S.C. § 2510(5), knowing and

having reason to know that the design of the device renders it primarily useful for

the purpose of the surreptitious interception of wire, oral, and electronic

communications, and that such device and any component thereof has been and

will be transported in interstate and foreign commerce, in violation of 18 U.S.c.

§§ 2512(1)(b).

                           FORFEITURE ALLEGAnON

      As a result of the eommission of the any crime described in counts I through

IX above, and upon conviction of any of those crimes, the defendant, JAMIE

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BROCK GRUBB, pursuant to 18 U.S.C. § 2253(a), shall forfeit to the United

States any property, real and personal, used and intended to be used to commit and

to promote the commission of such offenses and any property traceable to such

property, including:

      • a Samsung Galaxy S7 Edge SM-G935V smartphone, bearing serial

         number 358166070889644.

      A TRUE BILL.
                                            Foreperson signature redacted. Original
                                            document filed under seal.




KUR




 nrninal ChiefAssistant U.S. Attorney




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